
668 S.E.2d 30 (2008)
POTTLE, et al.
v.
LINK, et al.
No. 27PA08.
Supreme Court of North Carolina.
October 9, 2008.
Ryal W. Tayloe, Wilmington, Cheryl A. Marteney, New Bern, for Pottle, et al.
G. Grady Richardson, Jr., Wilmington, Elizabeth Brooks Scherer, Raleigh, for Link and Willetts.
David S. Pokela, Greensboro, for Duke Energy Carolinas.
Matthew D. Rhoad, Andrea B. Short, Raleigh, for CP&amp;L, et al.
The following order has been entered on the motion filed on the 7th day of October 2008 by Defendant for Extension of Time to File Brief on Merits:
"Motion Dismissed as moot. By order of the Court in conference this the 9th day of October 2008."
MARTIN, J., recused.
